                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

                               )
 IN RE: REALPAGE, INC., RENTAL )                        Case No. 3:23-md-3071
 SOFTWARE ANTITRUST LITIGATION )                        MDL No. 3071
 (NO. II)                      )
                               )                        JURY DEMAND
                               )
                               )                        Judge Waverly D. Crenshaw, Jr.
                               )
                               )                        This Document Relates to:
                               )                        ALL CASES
                               )


 PLAINTIFFS SELENA VINCIN AND MAYA HAYNES’S UNCONTESTED MOTION
  TO DISMISS THEIR CLAIMS AGAINST DEFENDANT DAYRISE RESIDENTIAL
        LLC PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiffs Selena Vincin and Maya

Haynes move to dismiss their respective claims against Defendant Dayrise Residential LLC

(“Dayrise”) with prejudice. The bases for this uncontested Motion are as follows:

       1.     On December 19, 2022, Ms. Vincin filed a complaint alleging violations of federal

and state antitrust law against numerous defendants, including Dayrise. See Vincin v. RealPage,

Inc., Case No. 1:22-cv-01329 (W.D Tex.) (the “Vincin Action”).

       2.     On August 25, 2023, Ms. Haynes filed a complaint alleging violations of federal

and state antitrust law against numerous defendants, including Dayrise. See Haynes v. RealPage,

Inc., Case No. 1:23-cv-03813 (N.D. Ga.) (the “Haynes Action”).

       3.     The Vincin and Haynes Actions were subsequently transferred to and consolidated

with MDL No. 3071 (In re RealPage Rental Software Antitrust Litigation No. II) in the Middle

District of Tennessee and restyled as 3:23-cv-00410 and 3:23-cv-00979 (M.D. Tenn.).

       4.     Since transfer and consolidation, Ms. Vincin and Ms. Haynes have resolved, on a
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non-class basis, their respective personal claims against Dayrise and seek an Order from the Court

in the form attached dismissing their respective claims against Dayrise with prejudice.

       5.      This dismissal applies only to Ms. Vincin’s and Ms. Haynes’s respective personal

claims against Defendant Dayrise. Their claims against all other Defendants in the above-

captioned matter remain pending and are unaffected. Their dismissal of claims against Defendant

Dayrise does not affect any claims held by other Plaintiffs in the above-captioned MDL.

       6.      Pursuant to Local Rule 7.01, counsel for Ms. Vincin, Ms. Haynes and Dayrise have

conferred and Dayrise consents to this motion. Via email to Defendants’ liaison counsel, counsel

for Ms. Vincin and Ms. Haynes have twice sought the other Defendants’ position on this Motion,

but they have not provided a response.



 Dated: September 20, 2024                 /s/ Tricia R. Herzfeld
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                               Plaintiffs’ Steering Committee




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2024, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.

                                             /s/ Tricia R. Herzfeld
                                             Tricia R. Herzfeld




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